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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                    TEL. 504-310-7700
CLERK                                                         600 S. MAESTRI PLACE,
                                                                      Suite 115
                                                             NEW ORLEANS, LA 70130

                             August 27, 2024


Mr. Paul Gerard Alvarez
U.S. Securities & Exchange Commission
100 F Street, N.E.
Washington, DC 20549
Mr. S. Michael McColloch
S. Michael McColloch, P.L.L.C.
6060 N. Central Expressway
Suite 500
Dallas, TX 75206

      No. 20-61007      Jarkesy v. SEC
                        Agency No. 3-15255

Dear Counsel:
Please be advised that the court has requested simultaneous
letter briefs from the parties not exceeding 3 pages addressing
whether, in light of the Supreme Court’s decision in this case,
there are remaining proceedings before the Fifth Circuit or
whether the case should be remanded to the agency.
The simultaneous letter briefs should be filed in this office on
or before September 10, 2024.

                                  Sincerely,
                                  LYLE W. CAYCE, Clerk

                                  By: _________________________
                                  Roeshawn Johnson, Deputy Clerk
                                  504-310-7998
cc:   Mr. Daniel J. Aguilar
      Ms. Karen L. Cook
      Mr. Samuel Wollin Cooper
      Mr. Dominick V. Freda
      Ms. Margaret A. Little
      Ms. Amanda Mundell
      Mr. Russell Ryan
      Mr. Joshua Marc Salzman
